Order entered May 6, 2019
DLB
                                    [pic]

                                   In The
                              Court of Appeals
                      Fifth District of Texas at Dallas

                             No. 05-18-00473-CR
                             No. 05-18-00474-CR

                       Rickey Lecardo McGee, Appellant

                                     V.

                        The State of Texas, Appellee

              On Appeal from the Criminal District Court No. 1
                            Dallas County, Texas
               Trial Court Cause Nos. F16-34511-H; F16-34499-H

                                    ORDER

      Before the Court is appellant’s May 3, 2019 pro se motion  for  change
of venue.  Appellant  is  represented  by  appointed  counsel.   A  criminal
defendant is not entitled to hybrid representation.  See Robinson v.  State,
240 S.W.3d 919, 922 (Tex. Crim. App. 2007).  Appellant’s motion  for  change
of venue is DENIED.

                                       /s/   DAVID L. BRIDGES
                                             PRESIDING JUSTICE

